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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF LOUISIANA



    In re:                                 )                 Case No. 17-bk-11213
                                           )                 Chapter 11
    FIRST NBC BANK HOLDING COMPANY, )                        Judge Elizabeth W. Magner
                                           )                 Section A
             Debtor.                       )
    _______________________________________)


                        UNITED STATES’ MOTION FOR A CONTINUANCE
                        OF THE AUGUST 7 HEARING ON CONFIRMATION

             The United States of America, on behalf of its agency the Internal Revenue Service,

   respectfully requests that the hearing on confirmation of the Second Amended Joint Chapter 11

   Plan of Reorganization for First NBC Bank Holding Company (Dkt. No. 621) (the “Plan”) be

   continued by at least 60 days. On July 3, 2019, the Court approved the debtor’s disclosure

   statement and scheduled the plan confirmation hearing for August 7, 2019. (Dkt. No. 624). The

   United States will be objecting to the plan, primarily on the ground that its principal purpose is

   the avoidance of taxes. 11 U.S.C. § 1129(d). See also I.R.C. § 269. The United States sought

   the debtor’s consent for this continuance, but it declined.

             Whether the principal purpose of a plan is tax avoidance is a highly factual issue, and the

   United States will need to take substantial discovery. The United States intends to serve written

   discovery demands on the debtor and its accounting firm, PwC. The United States also intends

   to take several depositions, including those of the debtor, PwC, Shivan Govindan, Andrew Nash,

   and Mark Haden. Further discovery may also be necessary, depending on the written responses

   the United States receives and whether new issues arise during depositions.




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          This discovery cannot be taken in the limited time between approval of the disclosure

   statement and the initial date set for the confirmation hearing. The United States intends to serve

   its written requests very soon, but under the Federal Rules of Bankruptcy Procedure, the

   responses would not be due until after the hearing. As for the depositions, the non-party

   witnesses will likely need time to prepare and, perhaps, to retain counsel. Several are located

   outside of Louisiana, making additional time necessary for travel by counsel for all interested

   parties. Finally, it is quite possible that disputes regarding discovery will arise and require

   assistance of the Court to resolve. Accordingly, at least an additional 60 days are required

   beyond the current hearing date for the United States to seek sufficient discovery in this matter.

          No other party will be unfairly prejudiced by this continuance. The version of the plan

   the debtor now seeks to confirm was filed just shy of two years after the petition date.

   According to the debtor’s own filings, it has no employees and no significant assets other than

   tax attributes. Nor has the debtor identified any specific investments it would purchase or any

   concrete business plans it would implement after a plan is confirmed. The requested continuance

   thus cannot have any serious detrimental effect on the debtor.

          While the Plan’s proposed recovery for creditors would be postponed, 60 additional days

   is not a meaningful delay in the context of this case, which is now in its twenty-sixth month.

   Furthermore, discovery will enable the parties to present testimony from witnesses who reside

   out of the Court’s subpoena power, and thus will ensure that the Court has the opportunity to

   consider all of the relevant evidence in determining whether the principal purpose of the plan is

   the avoidance of taxes.

          WHEREFORE THE UNITED STATES OF AMERICA RESPECTFULLY REQUESTS

   that the Court continue the hearing on confirmation to a date no earlier than October 7, 2019.



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   Date: July 9, 2019                          Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

          I hereby certify that on July 9, 2019, I electronically filed the foregoing MOTION with the

   Clerk of Court using the CM/ECF system, which will send notification of such filing to all parties

   appearing in said system.


                                                       /s/ Ward W. Benson
                                                       WARD W. BENSON
                                                       Trial Attorney
                                                       United States Dept. of Justice




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